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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 UNITED STATES OF AMERICA                      : CRIMINAL ACTION
                                               :
                       v.                      : NO. 97-399
                                               :
 RONALD HARRIS                                 :


                                            ORDER
       AND NOW, this 31st day of December 2020, upon considering Defendant’s pro se Motion

for compassionate release (ECF Doc. No. 67), Defendant’s supplemental Memoranda (ECF Doc.

Nos. 82, 83), the United States’ Response (ECF Doc. No. 85), Defendant’s post-hearing

supplemental Memorandum (ECF Doc. No. 88), the United States’ post-hearing supplemental

Response (ECF Doc. No. 89), following an evidentiary hearing and oral argument, and for reasons

in the accompanying Memorandum, it is ORDERED:

       1.       Defendant’s Motion (ECF Doc. No. 67) is GRANTED;

       2.       We amend the February 23, 2001 Judgment and Commitment Order (ECF Doc.

No. 39) to sentence Ronald Harris USM #51260-066 to time served to January 5, 2021;

       3.       Mr. Harris shall be released from custody on January 5, 2021;

       4.       Mr. Harris’s three-year term of supervised release shall begin immediately upon

release from custody with all standard conditions of supervision, and the following special

conditions:

                a.     Mr. Harris shall remain in his sister’s apartment in Philadelphia County for

two weeks with no personal contact with anyone other than his family upon release from custody;

                b.     Mr. Harris may not change his residence, even to a neighboring apartment,

without the Probation Officer’s approval;
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               c.      Mr. Harris shall maintain his residence in this District and shall not leave

this District without approval from his Probation Officer;

               d.      The Probation Officer will provide us with a status report on Mr. Harris’s

residence and transition shortly after the two-week in-place quarantine and on March 15, 2021;

               e.      Mr. Harris shall remain in home confinement in his sister’s residence (or

other approved residence) until December 31, 2021 requiring he remain inside the approved

residence at all times except for documented medical appointments, religious services, good faith

documented efforts to secure and maintain employment, and court-ordered obligations approved

by the Probation Officer;

               f.      Mr. Harris shall cooperate with the Probation Officer to install necessary

monitoring equipment to ensure compliance with this home confinement until December 31,

2021and he is responsible for payment of the reasonable monitoring costs beginning on March 1,

2021;

               g.      Mr. Harris shall not possess a firearm, destructive device, ammunition or

any dangerous weapon on his person or in a residence or in a place where he resides;

               h.      Mr. Harris shall cooperate in collection of DNA as directed by the Probation

Officer;

               i.      Mr. Harris shall submit to urine analysis within thirty days of being placed

on supervision and at least two periodic tests thereafter at the direction of the Probation Officer;

               j.      Mr. Harris shall participate in a drug treatment program if found to be

warranted by the Probation Officer;




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                k.    Mr. Harris shall fulsomely and promptly report contact with any person

whom he knows had a role in the June and August 1996 robberies leading to his conviction and

sentence to his Probation Officer;

                l.    Mr. Harris shall promptly seek and maintain gainful employment and

provide verification of employment as directed by his Probation; and,

       5.       All other conditions of supervision in the February 23, 2001 Judgment and

Commitment Order (ECF Doc. No. 39) not inconsistent with this Order remain in effect.



                                                    ________________________
                                                    KEARNEY, J.




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